   

R-RSW ECF No. 238 filed 03/27/09 PagelD.1210 Pageiof3

EASTERN DISTRICT OF MICHI

UNITED STATES DISTRICT comWTERE D y

SOUTHERN DIVISION
UNITED STATES OF AMERICA, CRIMINAL NO. 03-80406
Plaintiff, HON. GERALD E. ROSEN
V.
D-9 JIHAD HAMMOUD,
a/k/a “Jay Hammoud,”
Defendant.

/

 

 

FIRST SUPERSEDING INFORMATION

THE UNITED STATES ATTORNEY CHARGES:
COUNT ONE
(18 U.S.C. §4 - Misprision of a Felony)

Between January 1998 and J anuary 2001, in the Eastern District of Michigan,
Southern Division, JIHAD HAMMOUD, also known as “Jay Hammoud,” defendant
herein, having knowledge that Imad Hammoud, Fadi Hammoud, and Majid
Hammoud had conspired and agreed to possess contraband cigarettes, in violation of
Title 18, United States Code, Sections 371 and 2342(a), knowingly and intentionally _

concealed and failed to disclose the commission of the crime to law enforcement

 

 
  
 
 

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authorities; in violation of Title 18, United States Code, Section 4.

TERRENCE BERG
United States Attorney

KENNETH R. CHADWELL
Assistant U.S. Attorney

Ns Crt QL

ATHAN TUKEL
ef, National Security Unit

 
 
  

 

Dated: 3(21 | OF

 
Case 2:03-cr-80406-GER-RSW ECF No. 238 filed 03/27/09 PagelD.1212 Page 3of3

 

United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan 03-80406

 

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

 

 

Companion Case Number:

 

This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned: Gerald E. Rosen

 

0 Yes & No AUSA’s Initials:  JCV2¢

 

 

Case Title: USA v. JIHAD HAMMOUD, a/k/a Jay Hammoud

 

 

County where offense occurred: | Wayne

Check One: Felony CO Misdemeanor DO Petty
Indictment/ “information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section. below].

 

 

Superseding to Case No: 03-80406 Judge: Gerald E. Rosen

 

_ Original case was terminated; no additional charges or defendants.
Corrects errors; no additional charges or defendants.
Involves, for plea purposes, different charges or adds counts.
Embraces same subject matter but adds the additional defendants or charges below:

OWoOO

Defendant name Charges Prior Complaint (if applicable)

JIHAD HAMMOUD 18 U.S.C. § 4

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

March 27, 2009 Ca LE ce

Date Kenneth R. Chadwell
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, MI 48226-3277
Phone: (313) 226-9698
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E-Mail address: ken.chadwell@usdoj.gov
Attorney Bar #: P-39121

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same or related parties are present, andthe cases arise out of the
same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated.

5120/04

 

 
